UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
UNITED STATES OF AMERICA,                                      :
                                                               :   19 Cr. 374
                                                               :
                                                               :
       v.                                                      :
                                                               :
MICHAEL AVENATTI,                                              :
                                                               :
               Defendant.                                      :
                                                               :
------------------------------------------------------------


 MOTION TO WITHDRAW WARREN TERZIAN LLP AS COUNSEL OF
       RECORD FOR DEFENDANT MICHAEL AVENATTI




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      For the reasons set forth in the accompanying Declaration of Thomas D.

Warren, Warren Terzian LLP moves the Court for an Order allowing it to

withdraw as counsel of record for Defendant Michael Avenatti.

Respectfully submitted,

Date: July 24, 2020                  /s/ Thomas D. Warren
                                     Thomas D. Warren
                          CERTIFICATE OF SERVICE

      I hereby certify that on July 24, 2020, I caused a true and correct copy of the

foregoing to be served by electronic means, via the Court’s CM/ECF system, on all

counsel registered to receive electronic notice.

      /s/ Thomas D. Warren
      Thomas D. Warren
